  Case 4:16-cv-04024-RAL Document 25 Filed 02/10/17 Page 1 of 2 PageID #: 123

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                                                                              FEB 10 2017
                       UNITED STATES DISTRICT COURT


                          DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION



JAMES IRVING DALE,                                        4:04-CV-4153
                                                          4:06-CV-4117
                   Plaintiff,                             4:07-CV-4003
                                                          4:14-CV-4003
      vs.                                                 4:14-CV-4102
                                                        4:15-CV-4103-01
VARIOUS STATE ACTORS,                                     4:16-CV-4024
                                                          4:16-CV-4133
                   Defendants.
                                                      ORDER REGARDING
                                                   PAYMENT OF FILING FEES




      James Irving Dale has been granted in forma pauperis status in the

above-listed prisoner civil rights cases. In addition to the initial partial filing

fee, plaintiff must "make monthly payments of 20 percent of the preceding

month's income credited to the prisoner's account." 28 U.S.C. § 1915(b)(2).

The statute places the burden on the prisoner's institution to collect the

additional monthly payments and forward them to the court as follows:

      After payment of the initial partial filing fee, the prisoner shall be
      required to make monthly payments of 20 percent of the preceding
      month's income credited to the prisoner's account. The agency
      having custody of the prisoner shall forward payments from the
      prisoner's account to the clerk of the court each time the amount
      in the account exceeds $10 until the filing fees are paid.

28 U.S.C. § 1915(b)(2).
  Case 4:16-cv-04024-RAL Document 25 Filed 02/10/17 Page 2 of 2 PageID #: 124



       To-date, the following amounts are owed by Mr. Dale:

       CIV. 04-4153:       $438.15

       CIV. 06-4117:       $350.00

       CIV. 07-4003        $342.63

       CIV. 14-4003        $307.12

       CIV. 14-4102        $346.00

       CIV. 15-4103-01     $350.00

       CIV. 16-4024       $347.00

      CIV. 16-4133        $855.00

      TOTAL:              $3,335.90

      Accordingly, it is hereby

      ORDERED that the clerk of the court will send a copy of this order to the

appropriate financial official at plaintiffs institution. Plaintiffs institution will

collect the additional monthly payments in the manner set forth in 28 U.S.C.

§ 1915(b)(2), quoted above, and will forward those installments to the court

until the filing fees listed above are paid in full.

      DATED this 10th day of February, 2017.

                                        BY THE COURT:




                                                      FFY ^
                                        VERONICA L. DUFF^
                                        United States Magistrate Judge
